EXHIBIT 29
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-cv-10910

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                           DECLARATION OF BEAU SCHAEFFER

I, Beau Schaeffer, declare as follows:

       1.      I am a PhD student in Population Health Sciences and teaching fellow at Harvard

T.H. Chan School of Public Health.

       2.      I started my PhD program in 2022. I hold a Master of Science in Epidemiology

from Harvard T.H. Chan School of Public Health and a Bachelor’s Degree in Microbiology from

The University of Alabama.

       3.      I teach courses on Epidemiology at Harvard T.H. Chan School of Public Health.

My doctoral thesis focuses on the development of observational research methods for vaccine

safety and efficacy and applying these methods to real world data.

       4.      I am a member of the Harvard Graduate Students Union, one of the two collective

bargaining units of Harvard’s chapter of the International Union, United Automobile, Aerospace

and Agricultural Implement Workers of America (“HGSU–UAW”).


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       5.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       6.      I am aware that the Trump administration has taken a series of actions targeting

Harvard in recent months. In particular, I am aware that on March 10, 2025 the federal government

sent a letter to Harvard and many other universities warning of potential enforcement actions. I am

aware that on March 31, 2025, the federal government announced a comprehensive review of

federal contracts and grants at Harvard University and its affiliates. I am aware that officials from

the Trump administration sent a letter to Harvard on April 3, 2025 demanding that Harvard

immediately take a long list of actions to remain a recipient of federal funding (the “April 3

Letter”). I am aware that this was followed by a subsequent letter from Trump administration

officials on April 11, 2025 with more detailed demands that “incorporate[d] and supersede[d] the

terms” of the April 3 Letter and which the Trump administration proposed would serve “as the

basis for an agreement in principle that will maintain Harvard’s financial relationship with the

federal government” (the “April 11 Letter,” and together with the April 3 Letter, the “Demand

Letters”). Both of the Demand Letters were made public and I have read the demands listed in the

Demand Letters.

       7.      I am aware that on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       8.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon

announced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)



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terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,

Department of Defense, the National Science Foundation, and the Department of Housing and

Urban Development each terminated their grants to Harvard. Letters communicating each of these

terminations were made public, and I have read each of those letters.

       9.      I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American

universities and making a range of threats about how the federal government intended to use its

authority to impose numerous demands on Harvard University specifically.

       10.     My PhD dissertation chapter on vaccine safety and efficacy is only possible through

a NIH-funded external collaboration with a large industry partner (a health system) and the data

they manage. My research group and the industry partner were awarded separate grants under the

SeroNet program, a coordinated effort by the NIH to expand the nation’s capacity for SARS-CoV-

2 serologic testing and advance research on the immune response to SARS-CoV-2 infection and

COVID-19 vaccination among diverse and vulnerable populations.

       11.     The termination of my NIH funding will imminently affect my vaccine study design

work. The scope of my work will be reduced moving forward as the loss of NIH funding will

require the industry partner to limit the labor dedicated to its collaboration with Harvard. The

termination of funding will also have broader impacts on vaccine research made possible through

the collaboration with the industry partner. Without the federal funding source, it is unclear

whether additional, critical research projects with the industry partner would be able to continue.

       12.     I am uncertain whether and for how long I might receive some stopgap funding

from Harvard University. I am aware that the university has pledged $250 million in one-time



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stopgap funding. That amount is far from sufficient or sustainable to replace the roughly $2.7

billion in terminated funds across Harvard University, including terminated funds at the Harvard

T.H. Chan School of Public Health.

        13.     The loss of NIH funding for my research will also harm society and lead to gaps in

the vaccine study design literature. Improving observational research methods for vaccines is

critical given the increased interest surrounding the safety and efficacy of vaccines. The

termination of federal funding leaves uncertain the ability to continue vaccine research with the

industry partner. This collaboration is critical to my dissertation and developing rigorous

observational research to address questions around new and existing vaccines that are not feasible

to assess through other means.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: May 30, 2025                                  Signed: /s/ Beau Schaeffer

                                                     Beau Schaeffer
                                                     PhD Student




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